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                               Exhibit 55



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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 1   STATE OF WISCONSIN : CIRCUIT COURT : DANE COUNTY

 2   - - - - - - - - - - - - - - - - - - - - - - - - -

 3   STATE OF WISCONSIN,

 4

 5                          Plaintiff,

 6        v.                              Case No. 04-CV-1709

 7   AMGEN, INC., et al.,

 8

 9                          Defendants.

10   - - - - - - - - - - - - - - - - - - - - - - - - -

11

12                VIDEO DEPOSITION of JAMES J. VAVRA,

13   taken at the instance of the Defendants, under

14   and pursuant to the provisions of Chapter 804.05

15   of the Wisconsin Statutes, and the acts amendatory

16   thereof and supplementary thereto, before me, KIM

17   M. PETERSON, CM, Registered Professional Reporter

18   and Notary Public in and for the State of

19   Wisconsin, at 17 West Main Street, Madison,

20   Wisconsin, on the 16th day of August, 2007,

21   commencing at 9:34 o'clock in the forenoon.

22
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                                                                                 2

 1                 A P P E A R A N C E S

 2

 3             ARCHIBALD CONSUMER LAW OFFICE

 4             1914 Monroe Street

 5             Madison, Wisconsin     53711

 6             By MR. P. JEFFREY ARCHIBALD, ESQ.

 7                   Appeared on behalf of the Attorney

 8                   General of the State of Wisconsin.

 9

10

11             HOGAN & HARTSON,LLP

12             111 South Calvert Street

13             Suite 1600

14             Baltimore, Maryland     21202

15             By MR. STEVEN F. BARLEY, ESQ.

16             and MS. JENNIFER WALKER, ESQ.

17                   Appeared on behalf of the Defendant

18                   Amgen, Inc.

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20

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22   (CONTINUED)
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                                                                                       59

 1        Q.         In 1990, to your knowledge, did the

 2   State of Wisconsin do anything other than

 3   applying a 10 percent discount to the published

 4   AWP to determine the best estimate of the price

 5   generally and currently paid by providers for

 6   each drug?

 7                   MR. ARCHIBALD:    I'm going to object to

 8   the form of the question.           Vague as to use of the

 9   term State.

10                   MR. BARLEY:    I can limit it to the

11   DHFS.

12                   MR. ARCHIBALD:    Thank you.

13                   THE WITNESS:    1990.   I don't know.

14   BY MR. BARLEY:

15        Q.         Since 1990 has -- what has the State

16   done to determine if the ingredient cost

17   reimbursement is the best estimate of the price

18   generally and currently paid by providers for the

19   drug?

20        A.         We've used First DataBank AWP listings

21   with a discount that was applied.

22           Q.      How does the State know what the
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                                                                                    60

 1   appropriate discount is?

 2        A.      We, based on various sources and

 3   various factors, determine the discount, which

 4   has varied over the years, as I think you

 5   mentioned in '93 it was still 10 percent as noted

 6   here. I believe as a result of a biennial budget,

 7   I think it was the 2001-2003, it went to 11.25

 8   percent.     I think in State fiscal years '04 and

 9   '05 it went from -- it was raised, the discount

10   now, was raised from 12 to 13, and it remains at

11   13 today.     So it's -- it's varied.

12        Q.      How -- I guess what I'm asking is how

13   did the State determine that that discount was

14   the best estimate of the price generally and

15   currently paid by providers for the drugs?

16        A.      Typically, we -- we look at a number of

17   sources where AWP is used.        For example, what

18   other states, particularly those in the region,

19   discounted their products for their estimated

20   acquisition cost.      That would be one of the

21   sources we used.      Whatever we could find out from

22   private payers as well was another source that we
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                                                                                    61

 1   would use.     There were reports that were done

 2   that I mentioned earlier as well.

 3        Q.      You took into consideration the reports

 4   from the OIG?

 5        A.      OIG, um-hum.

 6        Q.      Did the State commission any surveys or

 7   reports to determine the best estimate of prices

 8   generally and currently paid by providers?

 9        A.      Not that I recall.

10        Q.      Did -- So it didn't conduct any

11   surveys, to your knowledge?

12        A.      Not to my knowledge.

13        Q.      Did it, to your knowledge, reach out to

14   any drug manufacturers to seek that information?

15        A.      Not to my knowledge.

16        Q.      Do you know if it looked at any other

17   source other than what other states were doing in

18   these OIG reports you referred to?

19        A.      There may have been other studies that

20   we had access to.      I just don't recall

21   specifically what they were.

22        Q.      Sitting here today you can't tell me
